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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 BRIAN SUGHRIM, et al.,

                            Plaintiffs,

        v.                                              No. 19-CV-7977 (RA) (SDA)

 STATE OF NEW YORK, et al.,

                            Defendants.



                STIPULATION, ORDER, AND CONSENT JUDGMENT ON
                          PLAINTIFFS’ CLASS CLAIMS


       WHEREAS, Plaintiffs filed their Fourth Amended Class Action Complaint in this matter

on August 18, 2022, which sought, among other things, injunctive relief on behalf of a putative

plaintiff’s class (Dkt. 278); and

       WHEREAS, Defendants the State of New York (“New York”), New York State

Department of Corrections and Community Supervision (“NYDOCCS”), Anthony J. Annucci (the

“Acting Commissioner”), John A. Shipley, Na-Kia Walton, Stephen Urbanski, Alan Washer,

William Lee, Michael Bertone, and Thomas Napoli (collectively, the “State Officials,” and,

together with New York, NYDOCCS, and the Commissioner, the “State”), filed the State’s

Answer to Plaintiffs’ Fourth Amended Complaint on September 1, 2022 (Dkt. 279); and

       WHEREAS, on September 5, 2023, the Court entered an Opinion & Order (“the Opinion

& Order”) granting Plaintiffs’ motion for class certification pursuant to Rule 23(b)(2), granting

Plaintiffs’ motion for partial summary judgment with respect to their class injunctive claim, and

permanently enjoining Defendants “from enforcing their practice of denying religious




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accommodations based on their own understanding of the tenets of the applicant’s faith”

(Dkt. 324); and

       WHEREAS, the Court’s Opinion & Order directed the parties to submit their respective

positions on the specific injunctive relief that was needed to ensure compliance with the Court’s

permanent injunction (Dkt. 324 at 60); and

       WHEREAS, on October 6, 2023, and October 27, 2023, the parties submitted briefs

pursuant to the Court’s Opinion & Order, setting forth their positions on the specific injunctive

relief needed to ensure compliance with the Court’s permanent injunction (Dkts. 328, 336); and

       WHEREAS, on June 21, 2024, the parties advised the Court that they were prepared to

conduct settlement negotiations (Dkt. 350); and

       WHEREAS, on July 9, 2024, the parties advised the Court that they jointly agreed to seek

the assistance of Hon. Christian F. Hummel, Magistrate Judge of the Northern District of New

York, to mediate their settlement negotiations (Dkt. 352); and

       WHEREAS, on July 15, 2024, the Court entered Administrative Orders pursuant to 28

U.S.C. § 636(f) designating Judge Hummel to mediate the parties’ settlement negotiations

(Dkts. 353 & 354); and

       WHEREAS, after engaging in extensive settlement negotiations with Judge Hummel, the

parties reached agreement on the injunctive relief needed to implement the Court’s permanent

injunction; and

       WHEREAS, the parties now seek to resolve and conclude Plaintiffs’ class claims;

       NOW, THEREFORE, IT IS HEREBY STIPULATED, AGREED, AND ADJUDGED

as follows:




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       A.      General Provisions.

               1.      Nothing in this Stipulation and Order shall prevent the Commissioner of the

New York State Department of Corrections and Community Supervision (“DOCCS” or “the

State”) from taking any actions necessary to ensure the safety and security of officers, incarcerated

persons, and the public concerning the operations of any correctional facility, including, without

limitation, responding to any emergency such as a riot or infectious disease requiring clean-shaven

correctional staff to properly use personal protective equipment.

               2.      This Stipulation and Order, and all obligations pursuant to this Stipulation

and Order, solely concern and relate to DOCC’s issuance or denial of requests for a religious

accommodation to wear facial hair in accordance with a religious belief or practice. Nothing in

this Stipulation and Order shall permit Plaintiffs’ counsel to monitor, review, investigate, inquire

into, or otherwise evaluate any aspect of any other accommodation requests, religious or otherwise,

or any other matter. Accordingly, wherever the terms “religious accommodation request” or

“accommodation request” are used in this Stipulation and Order, it refers specifically to religious

accommodation requests of correctional officers to wear beards.

       B.      Effective Date. The effective date of this Stipulation and Order shall be the date

the Court enters the Order.

       C.      Injunctive Relief.

               1.      Religious Accommodations Procedures.

                       a.      Subject to Paragraph A.1. above, DOCCS agrees to continue to

apply Directives 2609 and 3083 consistent with the revisions submitted to the Court on October 6,

2023 (Dkt. No. 328); provided, however, that DOCCS may amend or modify Directives 2609 and




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3083 so long as the practices concerning religious accommodation requests remain consistent with

the obligations in this Stipulation and Order.

                       b.         DOCCS, in accordance with the modifications to Directives 2609

and 3083, agrees to conduct an individualized review of applicant’s religious accommodation

request.

                       c.         In addition to any other information kept as part of DOCCS’s

administration of Directives 2609 and 3083, DOCCS agrees its practice will be to keep track of

the following information as part of the officer’s accommodation request file for each religious

accommodation request to wear a beard that is submitted:

                             i.          a description of the information that is requested and

considered in assessing the accommodation request; and

                            ii.          an explanation of the reason(s) for denying a request.

                       d.         DOCCS additionally agrees that its practice shall be that, if the

sincerity of an officer’s religious belief is questioned, the basis for questioning the officer’s

sincerity should be recorded in the officer’s accommodation request file.

               2.      Training.

                       a.         DOCCS agrees to require all DOCCS staff involved in

administering the religious accommodation process set forth in Directive 2609 – including Office

of Diversity and Inclusion (“ODI”) staff and facility Designees for Reasonable Accommodation

(“DRA”) – to receive additional training as set forth in Exhibit A.

                       b.         This training will be provided within sixty (60) days of the effective

date of this Stipulation and Order.




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                       c.      DOCCS will provide notification to Plaintiffs’ counsel within

seventy-five (75) days of the effective date of this Stipulation and Order that this training has been

completed.

               3.      Reconsideration of Religious Accommodations of Class Members.

                       a.      Within thirty (30) days of the effective date of this Stipulation and

Order, DOCCS will contact current correctional staff denied a religious accommodation to wear a

beard from August 1, 2016 to September 30, 2023, and provide them thirty (30) days to reapply

for a religious accommodation to wear a beard consistent with the revised Directives 2609 and

3083, and based upon their assignments to non-clean shaven posts. A draft of the letter that will

be sent to these class members is attached hereto as Exhibit B. Plaintiffs’ counsel will be copied

on all such correspondence.

                       b.      Within sixty (60) days of the effective date of this Stipulation and

Order, DOCCS, utilizing last known email and/or mailing addresses, will contact former officers

denied a religious accommodation request to wear a beard from August 1, 2016 to September 30,

2023, offering an opportunity to reapply for employment with DOCCS (if eligible) and to reapply

for a religious accommodation request to wear a beard. A draft of the letter that will be sent to

these class members is attached hereto as Exhibit C. Plaintiffs’ counsel will be copied on all such

correspondence.

                       c.      The    Parties   agree   that   individuals    granted   a   religious

accommodation to wear facial hair shall not be eligible for assignment to any clean-shaven post.

               4.      Notice to Class Concerning this Stipulation and Order.

                       a.      In addition to the notice provided to correction officers on or about

September 13, 2023, as provided in the memorandum to superintendents (Doc. No. 328-2), and




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through the publication of revised Directives 2609 and 3083, DOCCS agrees to provide notice to

correction officers, via announcement by supervisors and any other manner of notice directed by

the Court, of the terms of this Stipulation and Order and the revised Directives 2609 and 3083.

               5.        Reporting and Inspection. The Parties agree to the following provisions

for reporting on compliance with the terms of this Stipulation and Order:

                         a.     The Parties agree that all information exchanged pursuant to this

sub-paragraph (concerning “Reporting and Inspection”) is “confidential” as set forth in the Joint

Stipulated Protective Order (Dkt. No. 174).

                         b.     A “monitoring period” shall be a calendar month, and the first

monitoring period shall begin on the first day of the first month following the effective date of this

Stipulation and Order.

                         c.     On the fifteenth (15th) day of each Monitoring Period, DOCCS will

provide Plaintiffs’ counsel a list of religious accommodation requests by correction officers to

wear beards pending, granted, and/or denied during the previous Monitoring Period. The list shall

include the following information:

                                i.     First and last name of the requestor;

                                ii.    The facility of the requestor;

                                iii.   The date of the accommodation request;

                                iv.    The religious affiliation of the requestor;

                                v.     The disposition of the request (pending, granted, or denied);

and

                                vi.    The date of granting or denying of the request.




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                        d.       By the fifteenth (15th) day of each Monitoring Period, DOCCS will

provide copies of the files of denied religious accommodation requests of correction officers to

wear beards during the previous Monitoring Period. Accommodation request files will include

copies of Forms 2609A, B, C and D; and the information set forth in Paragraph C.1.c; and copies

of any communications concerning or explaining the reasons for the denial.

                        e.       Plaintiffs’ counsel’s review will be limited to DOCCS’s compliance

with this Stipulation and Order and Directives 2609 and 3083.

                        f.       For any religious accommodation request that remains pending in

consecutive Monitoring Periods, by the fifteenth (15th) day of the second Monitoring Period that

the request remains pending, DOCCS will provide a description of the status of the request and

the reason(s) that it is still pending.

                        g.       If Plaintiffs’ counsel need additional information beyond that set

forth in paragraphs (c) and (d), they will submit a written request to DOCCS’s counsel within

fourteen (14) calendar days of receipt of the records set forth in paragraphs (c) and (d). DOCCS’s

counsel will respond to the request within fourteen (14) calendar days and, if the additional

information is not provided, explain the reason for not providing the requested information. Any

such requests must be reasonable, narrowly tailored, not overly broad or unduly burdensome, and

made only in good faith.

                        h.       If Plaintiffs believe any term of this Stipulation and Order has been

violated by DOCCS, Plaintiffs’ counsel must submit a written objection to DOCCS’s counsel

within fifteen (15) calendar days of receiving the perceived violation of the terms of this

Stipulation and Order or denial of the accommodation request. Such written response must include

an explanation of any objection.




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                        i.       DOCCS shall respond to any objection within fourteen (14) calendar

days, and the Parties shall seek to informally resolve any alleged objection within thirty (30)

calendar days of receipt of DOCCS’s written response.

                        j.       If the Parties fail to resolve any alleged non-compliance, Plaintiffs’

counsel may seek relief from the Court.

                        k.       The duties, obligations, and requirements provided for in this

Paragraph (C.5) shall cease nine (9) months after the effective date of this Stipulation and Order,

unless the Court finds, upon application of the Plaintiffs, that DOCCS is not in substantial

compliance with the provisions of this Stipulation and Order.

          D.        Judgment Entered Pursuant to Rule 54(b)

               1.       Because this action presents more than one claim for relief and multiple

parties are involved, and because this Stipulation and Order will fully resolve the Plaintiffs’ class

claims, while Plaintiffs’ individual claims remain unresolved and will require a trial, there is no

just reason for delay in entering judgment on Plaintiffs’ class claims.

               2.       Accordingly, judgment is hereby entered on Plaintiffs’ class claims

pursuant to Rule 54(b) and on consent of all parties.

          E.        Attorneys’ Fees and Costs

               1.       Within 60 days of this Stipulation and Order, if the parties have not reached

resolution on the matter, Plaintiffs shall file a petition for their reasonable attorneys’ fees, costs,

and expenses incurred in connection with the class claims in this case through the Effective Date

of this Stipulation and Order.

               2.       Within sixty (60) days of the conclusion of the Reporting and Inspection

provisions described above in paragraph C.5, if the parties have not reached a resolution on the




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matter, Plaintiffs may file a petition for their reasonable attorneys’ fees, costs, and expenses

incurred in connection with the Reporting and Inspection obligations set forth in paragraph C.5.

                3.     Nothing contained in this Stipulation and Order waives, limits, or impairs

any argument or objection by the State in responding to a petition filed by Plaintiffs in connection

with this Paragraph. The State expressly reserves and preserves all legal, statutory, and equitable

arguments in opposition to any petition by Plaintiffs seeking an award of their reasonable

attorneys’ fees, costs, and expenses in this action.

ATTACHMENTS:

Exhibit A: Training

Exhibit B: Letter to Current Correctional Staff Class Members

Exhibit C: Letter to Former Correctional Staff Class Members



       Nov. 1,
Dated: ____________ 2024




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Josh@MoskovitzLaw.com                              Kenneth.Steely@butlersnow.com

Class Counsel                                      On behalf of Defendants



SO ORDERED AND ADJUGED



HON. RONNIE ABRAMS
U.S. DISTRICT JUDGE
May 28, 2025



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PROCESSING RELIGIOUS
  ACCOMMODATION
REQUESTS OF SECURITY
STAFF TO WEAR BEARDS
    Brian Sughrim v. State of New York
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Why do we need this training?
• In 2019, corrections officers who had been denied religious
  accommodations to wear beards filed a class action lawsuit known
  as Brian Sughrim v. State of New York.
• In 2023, the federal court overseeing the case determined that an
  unconstitutional practice had been used in denying religious
  accommodations for officers who are covered by the Sughrim case.
• Following the Court’s order, the Department amended Directives
  2609 and 3083 to clarify the requirements for granting or denying
  religious accommodation requests.
• This training provides guidance on how to properly evaluate an
  officer’s request to wear a beard based on his religious beliefs.
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Processing a religious accommodation
request to wear a beard
• At any time, an officer may request an accommodation to wear a
  beard in accordance with his religious beliefs or practices (Dir. 2609).
• To request the accommodation, the officer need only let the
  Department know that he needs an exemption from the grooming
  policy (Dir. 3083) for religious purposes.
• When an employee makes a request to his supervisor, the supervisor
  must direct the employee to the facility DRA (Designee for
  Reasonable Accommodations).
• When the request is made verbally, the supervisor or DRA must
  provide the officer with Form #2609A and request the employee to
  complete the form and return it for processing.
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Processing a religious accommodation
request to wear a beard (cont’d)
• If the DRA needs additional information, they must complete
  Form #2609B indicating no decision has been made and explaining
  why additional information is needed, and request the employee to
  complete Form #2609C.
• The DRA will then review the employee’s Form #2609A, and #2609C
  if requested, and any supporting documentation provided by the
  employee.
• In consultation with facility leadership and consistent with the
  guidance that follows, the DRA will then determine if any questions
  remain regarding the sincerity of the employee’s religious belief to
  wear a beard and if granting the accommodation will impose an
  undue hardship on the facility (as defined in Dir. 2609, Section V.H).
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Processing a religious accommodation
request to wear a beard (cont’d)
• If the DRA identifies concerns regarding the employee’s sincerity in
  his religious beliefs or an undue hardship, the DRA will complete
  Form #2609B, informing the employee that no decision has been
  made and that his request has been forwarded to the Office of
  Diversity and Inclusion (ODI).
• The DRA will forward all correspondence and documentation to
  ODI for further review and evaluation.
• When applicable, the DRA will inform ODI in writing their reason(s)
  for questioning the sincerity of the officer’s beliefs.
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Processing a religious accommodation
request to wear a beard (cont’d)
• If the DRA has no reason to question the sincerity of the employee’s
  belief and determine that no undue hardship exits, the DRA will
  complete Form #2609D notifying the employee of the granted
  accommodation and obtain the employee’s acceptance or rejection of
  the offered accommodation.
• The DRA will then issue a letter to the employee confirming the
  accommodation. The DRA will forward all documents and
  correspondence related to the employee’s request for a reasonable
  religious accommodation to wear a beard to ODI.
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Processing a religious accommodation
request to wear a beard (cont’d)
• For an accommodation request that requires further review, ODI will
  follow Dir. 2609 and this training to evaluate the request.
• If ODI needs additional information from the employee, they must
  complete Form #2609B explaining why additional information is
  needed and request the employee to complete Form #2609C.
• After completing its review, ODI will complete Form #2609D
  notifying the employee of its determination and the reasons for that
  determination.
• If ODI has granted the accommodation, the DRA should obtain the
  employee’s acceptance or rejection of the offered accommodation
  and issue a letter to the employee confirming the accommodation.
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Beliefs that are religious in nature
• A belief is a religious belief is a sincere and meaningful belief that
  concerns ultimate ideas about life, purpose, and death.

• A religious belief “occupies a place in the life of its possessor parallel
  to that filled by the orthodox belief in God,” but it is not necessary
  that it “contemplate an orthodox or traditional God.”

• It includes beliefs that may seem illogical or unreasonable to others
  but are religious in the officer’s “own scheme of things.”
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What is not required for a belief to be religious?

• A religious belief does not need to be part of an established religion
  or documented practice.

• A religious belief does not need to be followed by all adherents of
  the religion.

• A religious belief does not need to include a belief in God or divine
  beings.
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Examples of religious beliefs
• An employee follows a vegetarian diet as part of her practice as a
  Seventh-day Adventist. Her vegetarianism is a religious practice,
  even though not all Seventh-day Adventists share this belief or
  follow this practice, and even though many individuals adhere to a
  vegetarian diet for purely secular reasons.
• An employee follows spiritual beliefs that are undocumented,
  including wearing a beard as a part of his religious practice. This is a
  protected religious belief.
• An employee who identifies as Christian but is not affiliated with a
  particular sect or denomination and believes that working on his
  Sabbath is prohibited. This is a protected religious belief.
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Secular vs. religious beliefs and practices
• Social, political, or economic philosophies, and personal preferences,
  are not protected religious beliefs.

• However, a practice may still be “religious” for one person even if
  another person engages in the same practice for secular reasons. For
  example, growing a beard.

• Also, a practice can be “religious” even if it is not followed by others
  in the same religious sect, denomination, or congregation.
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The “truth” of a belief is not open for debate
• The law does not let the Department determine what the teachings
  or doctrines of a religion require or don’t require.

• In other words, the law protects all aspects of a person’s religious
  practices, even practices that are not “required” by the religion.

• Inquiries into “the truth” of an officer’s concepts of their religious
  faith are not permitted. This is known as a verity analysis, and it is
  not allowed.
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Religious beliefs must be sincerely held
• Reasonable accommodations are required only for religious beliefs
  that are “sincerely held.”

• A sincerity analysis seeks to determine an officer’s good faith in the
  expression of his religious belief.

• Deciding whether an officer has a good faith belief – a sincerely held
  belief – is not the same as deciding whether a religious belief is true
  or accurate.
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When is it appropriate to question the
sincerity of an officer’s belief?
• The sincerity of an officer’s religious belief should generally be
  presumed and is easily established.
• There must be an objective reason for the Department to question the
  sincerity of an officer’s professed.
• Examples of objective reasons would include:
      • if the officer is known to have behaved in a manner markedly
        inconsistent with his professed belief;
      • if the officer submitted a religious accommodation request
        shortly after being denied an accommodation on a different basis.
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Questioning the sincerity of an officer’s belief
• Whenever the Department has reason to question the sincerity of an
  officer’s religious belief, it must document that reason.

• The Department may not and will not question the sincerity of only
  certain groups or types of religious beliefs.

• For example, the mere fact that an officer’s beliefs are non-traditional
  or unorthodox is not an appropriate reason to question the sincerity
  of his beliefs.
                Case
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Questioning the sincerity of an officer’s belief (cont’d)

• If you have a question about the sincerity of an officer’s belief, you
  should:
   • inform the officer that their sincerity of belief is being assessed,
   • permit the officer an opportunity to be interviewed about his
     belief, and
   • allow the officer to submit any additional information or
     documentation they choose to support their sincerity of belief.
                  Case
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Assessing the sincerity of an officer’s belief (cont’d)
• The fact that an officer does not adhere steadfastly to his beliefs does not
  mark them as insincere.
• While inconsistent conduct is relevant to the question of sincerity, an
  officer’s beliefs – or degree of adherence – may change over time.
• Therefore, an officer’s religious practice may be newly adopted or
  inconsistently observed and still be sincerely held.
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Assessing the sincerity of an officer’s belief (cont’d)
• An officer may have a sincerely held religious belief or practice even if
  they have forgone the practice or belief during the job application process
  and not revealed it to the employer until after they were hired or later in
  employment.
• An officer may have a sincerely held religious belief or practice even if
  they choose to adhere to a religious custom only at certain times, while
  others choose to adhere always.
                 Case
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Assessing the sincerity of an officer’s belief (cont’d)
• Whether an officer’s particular beliefs or practices deviate from commonly
  followed religious tenets, or the officer adheres to some common religious
  practices but not others, is irrelevant to a determination of the officer’s
  sincerity of belief.
• For instance, an officer who maintains a sincere belief in wearing a beard
  based on his identification with Judaism will not be deemed insincere in
  his beliefs because he does not also keep a Kosher diet.
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Undue hardship
• An undue hardship is a burden that is substantial in the overall
  context of an employer’s business taking into account all relevant
  factors in the case at hand, including the particular accommodations
  at issue and their practical impact in light of the nature, size and
  operating cost of an employer.

• Dir. 2609, Section V.H defines an “undue hardship” as “an
  accommodation requiring significant expense or difficulty” which
  “includes significant interference with the safe or efficient operation
  of the workplace or a violation of a bona fide seniority system.”
                Case
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Undue hardship (cont’d)
• An accommodation also constitutes an undue hardship if it will
  result in the inability of an employee to perform the essential
  functions of the position in which he or she is employed.
• In positions that require coverage around the clock or during
  particular hours, being available even on Sabbath or holy days may
  be an essential function of the job. Also, certain uniform appearance
  standards may be essential to some jobs.
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CURRENT OFFICERS:

       Officer XXXXX,

        The State resolved pending litigation concerning religious accommodations to wear facial
hair in accordance with Directive 2609 and 3083 in the case of Brian Sughrim, et al. v. State of
New York, et. al., United States District Court for the Southern District of New York, Case
No. 1:19-CV-07977-RA-SDA. As part of the resolution of this matter, the Department agreed to
contact all officers whose written request for a religious accommodation to wear facial hair from
August 1, 2016 to September 30, 2023, had been denied and to offer them an opportunity to reapply
for a religious accommodation. If you have a current religious accommodation, and you remain
in compliance with the accommodation, that accommodation remains valid and there remains no
need to reapply. If you do not have a current religious accommodation, and you desire to reapply,
please submit the attached Form 2609A to:

       EMAIL ADDRESS

      If you want to reapply, please respond within thirty (30) days of the date of the letter.
Whether or not you choose to reapply now with regard to this letter, you may request religious
accommodations at any time in accordance with Directive 2609.
   Case
   Case 1:19-cv-07977-RA-SDA
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FORMER OFFICERS:

       Mr. XXXXX,

        The State resolved pending litigation concerning religious accommodations to wear facial
hair in accordance with Directive 2609 and 3083 in the case of Brian Sughrim, et al. v. State of
New York, et. al., United States District Court for the Southern District of New York, Case
No. 1:19-CV-07977-RA-SDA. As part of the resolution of this matter, the Department agreed to
contact all former certified correction officers whose written request for a religious
accommodation to wear facial hair from August 1, 2016 to September 30, 2023, had been denied
and to offer an opportunity to reapply to work for the Department and reapply for a religious
accommodation. If you desire to return to employment with the New York State Department of
Corrections and Community Supervision, and you otherwise remain eligible for reinstatement, you
may reapply. All candidates for reinstatement must comply with all requirements to be employed
as a Correction Officer. Additionally, upon reinstatement as a Correction Officer with DOCCS,
you may request a religious accommodation to wear a beard in accordance with revised Directives
2609 and 3083. If you desire to apply for reinstatement, please contact XXXXX in Human
Resources at:

       EMAIL ADDRESS
